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13   AND KANYUN HOLDING GROUP CO. LTD.
14                                UNITED STATES DISTRICT COURT
15                               NORTHERN DISTRICT OF CALIFORNIA
16                                    SAN FRANCISCO DIVISION
17   FIGMA, INC.,                                       Case No. 3:24-cv-06507-JD
18                  Plaintiff,                          DEFENDANTS’ REQUEST TO CONSIDER
                                                        DECLARATIONS RESPONSIVE TO NEW
19         vs.                                          DEVELOPMENTS IN THE CASE
20   MOTIFF PTE. LTD., YUANFUDAO HK LTD., Assigned to: Hon. James Donato
     and KANYUN HOLDING GROUP CO. LTD.,
21                                        Date: May 1, 2025
                Defendants.               Time: 10:00 a.m.
22                                        Place: Courtroom 11
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1            To ensure a full and fair opportunity to address Figma’s new facts, new evidence, new

2    arguments, and inaccurate portrayal of deposition testimonies in its April 17, 2025 Preliminary

3    Injunction (PI) Reply, Motiff respectfully asks the court to consider the Supplemental Declarations

4    of Motiff 30(b)(6) and percipient witnesses Ethan Zhang, Max Zhang and Ryan Zhang, as well as

5    expert witnesses Dr. Cory Plock and Doug Ellis.

6       I.      Procedural Background

7            Figma filed its PI Motion on January 23, 2025, along with Declarations from percipient

8    witnesses Megg Meneguzzi and John Lai, and expert witnesses Dr. Karan Singh and Todd

9    Schoettelkotte. Figma claimed that Motiff was infringing Figma’s source code copyright. Dkt. 1,

10   ¶ 15. As suggested by the Court at the February 13, 2025 hearing on the proposed briefing schedule,

11   the parties agreed to have a third party Exponent host both parties’ source code for inspection at

12   offices in New York City and Menlo Park. The source code was first made available for inspection

13   on February 25, 2025.

14           Pursuant to this Court’s Scheduling Order, Motiff filed its Opposition on March 20, 2025,

15   along with Declarations from witnesses Ethan Zhang, Max Zhang and Ryan Zhang, and expert

16   witnesses Dr. Plock and Mr. Ellis. Motiff’s lead software engineer, Ethan Zhang, explained that

17   Motiff had not copied any Figma source code. Motiff’s source code expert, Dr. Plock, confirmed

18   that he found no copying of Figma source code in his independent review of the two programs.

19           Following the filing of Motiff’s Opposition, Figma proceeded to depose Ethan Zhang on

20   March 31, April 1 and April 4, 2025; Max Zhang on April 1, 2025; Ryan Zhang on April 3, 2025;

21   Tim Yang on April 4, 2025; Doug Ellis on April 10, 2025; and Dr. Cory Plock on April 11, 2025.

22           Following these depositions, Figma then filed its PI Reply on April 17, 2025, along with

23   Supplemental Declarations from expert witnesses Dr. Singh and Mr. Schoettelkotte. Figma’s PI

24   Reply continued to point to the “similarities” in the two programs but, for the first time, it raised new

25   arguments and presented new evidence that had not been presented before Motiff filed its March 20

26   Opposition, and it inaccurately portrayed deposition testimony that had been elicited after Motiff had

27   filed its March 20 Opposition.

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 1            In view of the foregoing, Motiff respectfully requests an opportunity to address these post-

 2   March 20 developments by filing Supplemental Declarations of Motiff witnesses Ethan Zhang, Max

 3   Zhang and Ryan Zhang, as well as expert witnesses Dr. Cory Plock and Doug Ellis. The issues to be

 4   addressed in these Supplemental Declarations include: (1) the impact of Figma’s new supplementary

 5   copyright registration; (2) Figma’s new arguments about Figma’s shader function and rendering bug;

 6   (3) Figma’s inaccurate presentation of testimony from Motiff witnesses deposed after Motiff’s

 7   March 20 Opposition; and (4) Figma’s announcement on April 15, 2025 that it had filed papers with

 8   the SEC to move forward with an Initial Public Offering of its stock.

 9      II.      Argument

10      The Standing Order in this case provides that, “Reply papers should not raise new points that

11   could have been addressed in the opening motion or brief.” Standing Order ¶ 15; In re Capacitors

12   Antitrust Litigation, No. 14-cv-03264, 2017 WL 897340, at *1 (N.D. Cal. March 7, 2017) (“Raising

13   new arguments in a reply brief is a classic form of sandbagging that is barred under Paragraph 15 of

14   the Court’s Standing Order for Civil Cases.”). However, given the nature of this case, where Figma

15   opted not to file a TRO, but instead went straight to a PI without having conducted any discovery,

16   strict application of the rule may not necessarily apply in some circumstances. Defendants submit

17   that the fair way to handle this is to simply request that the Court consider Supplemental

18   Declarations that address the new developments. See Iconix, Inc. v. Tokuda, 457 F. Supp. 2d 969,

19   976 (N.D. Cal. 2006) (accepting supplemental declarations filed with defendants’ objection, “thus

20   providing Defendants with a chance to respond”).

21            A. Figma’s New Supplementary Copyright Registration

22            As explained in the Supplemental Declaration of Dr. Plock, Figma alleged in its Complaint

23   that Figma’s source code was protected by three separate copyright registrations, TXu002441751,

24   (August 2020 version), TXu002441752 (January 2023 version) and TXu002441753 (March 2024

25   version). Each of the registrations, on its face, excludes “previous versions” and “open source”

26   components and claims only the “new and revised code” for each version. Motiff counsel raised

27   this issue with Figma during discovery and, Figma responded by filing, on March 5, 2025,

28   applications for supplementary registrations for each of the three versions. Motiff learned for the

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 1   first time on April 17, 2025 (the day Figma filed its Reply) that the supplementary registration for

 2   the August 2020 version was granted, and the supplementary applications for the January 2023 and

 3   March 2024 versions were denied. Having now had about a week to review Figma’s correspondence

 4   with the Copyright Office, it is clear substantial questions exist as to the validity and scope of the

 5   registrations now at issue in the case.

 6          Dr. Plock’s Supplemental Declaration explains that Figma relies on a Copyright Office email

 7   contending that “the registration will cover all of the content that appears in the version of the work

 8   that you deposited on August 14, 2024, . . . including any unpublished or unregistered source code

 9   from earlier versions that have been incorporated into the deposited copy.” Dkt. 83-34, at 2

10   (emphasis added). This email confirms that the Copyright Office only agreed to remove the

11   “previous version” disclaimer because Figma indicated and confirmed that “these previous versions

12   of the program were unpublished and unregistered.” Id. (emphasis added). The Copyright Office

13   was clear that “no disclaimer is required if you never registered and never distributed earlier

14   versions of ‘Figma Design - August 2020’ to the public.” Id. (emphasis added).

15          But, as Dr. Plock’s Supplemental Declaration further explains, versions of Figma’s software

16   before August 2020 were, in fact, published as that term is defined in the Copyright Act. Plock Supp.

17   Decl. ¶¶ 23-49; 17 USC §101 (defining “publication” as “the distribution of copies . . . of a work to

18   the public by sale or other transfer of ownership, or by rental, lease, or lending”).1 Figma’s

19   interrogatory response

20                            Dkt. 55-2 at 11.

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       “[A] program is considered published if there has been a general distribution of the program code
24   regardless of whether the copies are distributed by purchase or license and regardless of whether the
     copies are distributed on a CD-ROM, DVD or downloaded online . . . even if the copies contained
25   object code rather than source code and even if the source code has not been disclosed to the public.”
     Compendium of U.S. Copyright Office Practices, 721.9(E)) (attached as Ex. 30 to Plock Supp.
26   Decl.)
     2
27    Distribution of the web-based version to Figma licensed users also published the software. See
     Getaped.com, Inc. v. Cangemi, 188 F. Supp. 2d 398, 402 (S.D.N.Y. 2002); see also Dkt. 60-8, ¶¶ 45-
28   47; Plock Supp. Decl. ¶¶ 47-48.

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 1   “Defendants designed the accused Motiff product on the Figma platform” (PI Reply at 1) suggesting

 2   that Motiff copied Figma Design. That is utterly false. As Ethan Zhang, Max Zhang and Ryan

 3   Zhang each testified, and explain in their Supplemental Declarations, they simply used Figma to

 4   store design documents that they created on their own, until the Motiff platform was far enough

 5   along to host these documents. As another example, Figma states that Motiff has “gone so far as to

 6   break into                                                     . Id. at 1. That, too, is utterly false. As Dr.

 7   Plock explains in his Supplemental Declaration, quoting his deposition testimony: “The fact that the

 8   specific ‘                                                                  ’ is irrelevant, as anyone with

 9   access to Figma can access the

10                      and as such ‘[t]here is no, really, additional effort that’s needed to look at

11                     ].’” Plock Supp. Decl. ¶ 81. The Supplemental Declarations of Messrs. Ethan, Max

12   and Ryan Zhang, along with those of Dr. Plock and Mr. Ellis, address each of these misstatements to

13   ensure that there is a full, accurate and complete record of their deposition testimony.

14              D. Figma’s April 15, 2025 IPO Announcement

15              Four weeks after Figma completed its discovery in this case, Figma publicly announced the

16   filing of confidential papers with the SEC to proceed with an Initial Public Offering of Figma stock.

17   Figma made no mention of this fact throughout the discovery period and produced no documents

18   relating to a public financing of the company despite Motiff’s request for such documents. The

19   representation being made to the SEC on projected future growth of Figma, projected future Figma

20   customers, and the projected impact of this litigation on Figma’s performance going forward bear

21   directly on the irreparable harm prong of the preliminary injunction analysis. Ellis Supp. Decl. ¶ 9.

22   Further discovery on this new fact is warranted for a full and complete record on the irreparable

23   harm prong.

24       III.      Conclusion

25              For the reasons stated above, Defendants respectfully request that the Court consider the

26   Supplemental Declarations of Motiff’s 30(b)(6) and percipient witnesses Ethan Zhang, Max Zhang

27   and Ryan Zhang, as well as expert witnesses Dr. Cory Plock and Doug Ellis, which address new

28   developments in the case.

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 1   Date: April 24, 2025                        Respectfully submitted,

 2                                               SIDLEY AUSTIN LLP

 3                                               By: /s/ Samuel N. Tiu
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 4                                                   Samuel N. Tiu
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 5                                                   Brooke S. Böll
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 6

 7                                                      Attorneys for Defendants
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 8                                                      AND KANYUN HOLDING GROUP CO. LTD.
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 1                                     CERTIFICATE OF SERVICE

 2          I hereby certify that on this 24th day of April, 2025, I electronically filed the foregoing with

 3   the Court using the CM/ECF system, and thereby delivered the foregoing by electronic means to all

 4   counsel of record.

 5                                                        /s/ Samuel N. Tiu
                                                          Samuel N. Tiu
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